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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


     JOHN DOE,                                     )
                                                   )
                                Plaintiff,         )
                                                   )
                        vs.                        )     1:17-cv-02790-RLY-DML
                                                   )
     DEPAUW UNIVERSITY,                            )
     JANE ROE,                                     )
     ALAN HILL,                                    )
     JULIANN SMITH,                                )
                                                   )
                                Defendants.        )

   ORDER ON PLAINTIFF’S REQUEST FOR TEMPORARY RESTRAINING
 ORDER AND PRELIMINARY INJUNCTION PURSUANT TO FED. R. CIV. P. 65
         Plaintiff, John Doe, is a former student of DePauw University. Following a Title

 IX investigation, DePauw’s Vice President for Student Academic Life, Alan Hill,

 affirmed the decision of DePauw’s Dean of Students, Myrna Hernandez, suspending

 Plaintiff for a period of two years set to begin with the Fall 2017 semester. On August

 15, 2017, Plaintiff filed (i) the present Complaint and (ii) a Verified Request for

 Temporary Restraining Order and Preliminary Injunction.

     On August 21, 2017, Plaintiff filed an Amended 1 Verified Request for Temporary

 Restraining Order and Preliminary Injunction that asks the court to order DePauw


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   This is docketed on the court’s ECF system as the First Motion to Amend/Correct Verified
 Request for Temporary Restraining Order and Preliminary Injunction. The document which was
 actually filed—the Amended Verified Request for Temporary Restraining Order and Preliminary
 Injunction—does not seek leave. Noting no objection from the Defendants, the court will treat
 the Amended Verified Request as properly filed.

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 University to (i) reinstate Plaintiff as a student enrolled for the 2017-2018 school year,

 (ii) reinstate Plaintiff in the study abroad program through Carleton College, and (iii)

 return any payments made to Carleton for Plaintiff’s financial aid. The following day,

 the court held a hearing on Plaintiff’s Amended Verified Request for a Temporary

 Restraining Order and heard the testimony of three witnesses: John Doe, Bridget Farren,

 and Mr. Hill. The parties’ filed proposed Findings of Fact and Conclusions of Law on

 August 25, 2017.

        The court, having thoroughly reviewed the parties’ submissions, the testimony

 presented at the hearing, and the applicable law, now finds Plaintiffs’ Amended Verified

 Request for Temporary Restraining Order (Filing No. 20) should be DENIED. The

 specific reasons supporting the court’s ruling will be addressed in a subsequent Entry. In

 addition, Plaintiff’s initial Verified Request for Temporary Restraining Order and

 Preliminary Injunction (Filing No. 3) is DENIED as MOOT.



 SO ORDERED this 25th day of August 2017.




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